                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 17-CR-2051-LRR
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 RONALD COREY,                                      RECOMMENDATION
                                                CONCERNING DEFENDANT’S
               Defendant.                              GUILTY PLEA
                                  ____________________

                      I. INTRODUCTION AND BACKGROUND
       On July 18, 2017, a two-count Indictment was filed against Defendant
Ronald Corey. On January 5, 2018, Defendant appeared before United States Chief
Magistrate Judge C.J. Williams and entered pleas of guilty to Counts 1 and 12 of the
Indictment. On January 8, 2018, Judge Williams filed a Report and Recommendation in
which he recommended that Defendant’s guilty pleas be accepted. No objections to
Judge Williams’s Report and Recommendation were filed.             The court, therefore,
undertakes the necessary review of Judge Williams’s recommendation to accept
Defendant’s pleas in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:

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              The district judge must consider de novo any objection to the
              magistrate judge’s recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.
Fed. R. Crim. P. 59(b)(3).1
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Williams’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Williams’s Report and Recommendation of
January 8, 2018, and ACCEPTS Defendant’s pleas of guilty in this case to Counts 1 and
12 of the Indictment.
       IT IS SO ORDERED.
       DATED this 23rd day of January, 2018.




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         United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016)
(per curiam), suggests that a defendant may have the right to de novo review of a
magistrate judge’s recommendation to accept a plea of guilty even if no objection is filed.
But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will
undertake a de novo review of the Report and Recommendation if a written request for
such review is filed within fourteen days after this order is filed.

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